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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGN
                                    SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                 Plaintiff,
vs                                                Case No. 1:19-cr-117
                                                  Hon. Robert J. Jonker
LARRY CHARLES INMAN,                              Hon. Phillip J. Green

            Defendant.
___________________________________________________________/

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____________________________________________________________/


                     DEFENDANTS LIST OF TRIAL LAY AND EXPERT WITNESSES

1. Walker D. Sharp, government’s cell phone data extraction expert.

2. Doug Simon

3. Ashleigh Ackerman

4. Trey Hines

5. Brad McGuire

6. Ross Childs
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7. Dan Pero

8. Lee Chatfield

9. Katy Huckle

10. Steve Marino

11. Joe Bellino

12. Gary Howell

13. Lisa Canada

14. Jeremy Ashcroft

15. Any witness to whom any text message that is admitted in evidence was transmitted and
received, including:

       a. Jim Kirsch

16. Treating physicians of the defendant, including:
        Dr. Dan Lathrop
        Dr. Russell VanHouzen
        Dr. Silva DeFlavio (Flavio may be asked his expert opinion on Defendant’s diagnosis)
    All records of these treaters have been obtained by the Government.

17. Custodian of Munson Medical Records if necessary.

18. Dr. Bruce Baker, expert testimony re: diminished capacity defense
    Dr. Bakers credentials, reports and treatment records have been produced to the
    Government.

19. Any witness the Government interviewed during their investigation of this matter who has
not yet been revealed.

20. Any witness called by the Government to testify at the Grand Jury proceeding who has not
yet been revealed.

   No decision has been made at this time as to whether or not the defendant will testify.


November 11, 2019
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                              Respectfully,




                              Christopher K. Cooke (P35034)
                              NEUMANN LAW GROUP
